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                                                                             Fit ED
                                                                    U .S .     ~., 01M T
                   IN THE UNITED STATES DISTRICT COUR T
                  FOR THE SOUTHERN DISTRICT OF GEORGK -1 3, 57
                            BRUNSWICK DIVISIO N
                                                                                             J


BILLY GUYTON, SR .,                                                   So . jai T . C~- G .




             V.


UNITED STATES OF AMERICA ,                     (Case No . : CR297-026 )

                    Respondent .


                                      ORDER

      After an independent review of the record, the Court concurs with th e

Magistrate Judge's Report and Recommendation, to which Objections have been

filed . In his Objections, Guyton contends that Respondent's Motion to Dismiss

should be stricken from the record because he was not served with a copy of the

Motion. However, the record before the Court reflects that Guyton filed a response

to Respondent's Motion to Dismiss . (Doc. No. 7 .) If Guyton was not served with a

copy of Respondent's Motion, as he contends, he would not have filed a Response .

Guyton also contends that the Motion to Dismiss was not filed within thirty (30) days,

in violation of this Court's Order, and should be stricken for that reason . The Court's

Order directing Respondent to file a response to Guyton's motion was filed on

December 12, 2005, and Respondent filed his Motion to Dismiss on January 10,

2006, which was within the allotted thirty (30) day period . (Doc. Nos . 5 and 6 .)

Guyton further contends that the Government created an impediment which
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prevented him from filing a timely motion pursuant to 28 U .S .C . § 2255, 116(2) .

However, Guyton presents this contention in a conclusory manner and does not

inform the Court as to what that impediment is .

      Guyton's Objections are wholly without merit . The Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the Court .

Respondent's Motion to Dismiss (Doc . No . 6) is GRANTED . Guyton's motion to

vacate, set aside, or correct his sentence, filed pursuant to 28 U .S .C . § 2255, is

DISMISSED . The Clerk is authorized and directed to enter the appropriate

Judgment of Dismissal .
                         t4l,
      SO ORDERED , this day of                     11             - , 2006.




                                       UNITED STATES DISTRICT JUD G




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